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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

TINNEKKIA M. WILLIAMS,                            CV 20-49-BLG-SPW-TJC
                    Plaintiff,
                                                  ORDER LIFTING STAY
vs.

ANDREW SAUL, Commissioner of
Social Security,

                     Defendant.

      The Court having ordered a stay in proceedings until the record was filed.

(Docs. 6-8.) It appears the Administrative Record has since been filed (Doc. 9).

Therefore,

      IT IS ORDERED that the stay is LIFTED and this action will resume

pursuant to L.R. 78.2.

      DATED this 21st day of October, 2020.

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                                      TIMOTHY J. CAVAN
                                      United States Magistrate Judge
